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December l9, 20l7

By ECF
Hon. Katherine B. Forrest

United States District Judge
Southern District of New York
United States Courthouse

500 Pearl Street

NeW York, NY 10007-13 12

Re: United States v. Christoplzer Gojj‘”
15 Cr. 616 §KBF)

Dear Judge Forrest:

We are Writing to respectfully request permission for Christopher Goff to travel With his
family to Arizona for the Christmas holiday from December 23 to December 28, 20l7. If
permitted, Mr. Goff and his family intend to stay at the Grand Canyon Railway Hotel, 235 North
Grand Canyon Boulevard, in Williams, Arizona from December 23 through December 25, 20l7.
Thereafter, they plan to drive from that hotel to 910 East Becker Lane, PhoeniX, Arizona Where
they Will visit and stay at the home of a family member from December 25 through December
27, 20l7, after Which they Will return home on December 28, 20l7.

I have communicated With Assistant U. S. Attorney Jennifer Beidel Who informed me
that the Government defers to the United States Pre-Trial Services (“USPTS”) on this issue. I
have spoken to Mr. Goff’s Pre-Trial Services Officer, Francesca Tessier-Miller, Who informs me
that USPTS has no objection to our request.

Your Honor’s attention to this request is greatly appreciated.

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Hon. Katherine B. Foirest
December 19, 2017

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Respectfully submitted,

      
 

Cc: All Counsel of Record by ECF

